                                         Case 6:19-bk-11920-SC            Doc 500 Filed 11/14/19 Entered 11/14/19 14:28:39                           Desc
                                                                           Main Document     Page 1 of 4

                                          1       Samuel R. Maizel (SBN 189301)
                                                  samuel.maizel@dentons.com
                                          2       Tania M. Moyron (SBN 235736)
                                                  tania.moyron@dentons.com
                                          3       Gary W. Marsh (admitted pro hac vice)                                  FILED & ENTERED
                                                  gary.marsh@dentons.com
                                          4       DENTONS US LLP
                                                  601 South Figueroa Street, Suite 2500                                         NOV 14 2019
                                          5       Los Angeles, California 90017-5704
                                                  Telephone: (213) 623-9300
                                                                                                                           CLERK U.S. BANKRUPTCY COURT
                                          6       Facsimile: (213) 623-9924                                                Central District of California
                                                                                                                           BY craig      DEPUTY CLERK

                                          7       Attorneys for the Chapter 11 Debtor
                                                  and Debtor In Possession
                                          8

                                          9                             UNITED STATES BANKRUPTCY COURT
                                                                CENTRAL DISTRICT OF CALIFORNIA - RIVERSIDE DIVISION
                                         10       In re:                                           Case No. 6:19-bk-11920-SC
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES, CALIFORNIA 90017-5704




                                         11
                                                  AIR FORCE VILLAGE WEST, INC.                     Chapter 11 Case
                                         12       d/b/a ALTAVITA VILLAGE,
         DENTONS US LLP

            (213) 623-9300




                                         13                                                        Hon. Scott C. Clarkson
                                                           Debtor and Debtor in
                                         14                Possession.
                                                                                                   ORDER DISMISSING THE DEBTOR’S CHAPTER
                                         15                                                        11 CASE AND GRANTING RELATED RELIEF
                                         16                                                        Hearing:
                                                                                                   Date:       November 5, 2019
                                         17                                                        Time:       1:30 p.m.
                                                                                                   Place:      411 West Fourth Street
                                         18                                                                    Courtroom 5C
                                                                                                               Santa Ana, CA 92701
                                         19                                                        Video Courtroom:
                                                                                                   Date:       November 5, 2019
                                         20                                                        Time:       1:30 p.m.
                                                                                                   Place:      3420 Twelfth Street
                                         21                                                                    Video Hearing Room 126
                                                                                                               Riverside, CA 92501
                                         22

                                         23           Upon consideration of the Motion for Entry of an Order Dismissing the Debtor’s Chapter
                                         24   11 Case and Granting Related Relief (the “Motion”);1 and the Court having considered the Motion,
                                              the record of this Chapter 11 Case, and the argument of counsel made at the hearing on the Motion;
                                         25

                                         26
                                              1
                                                    Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Motion and
                                         27         in the Emergency Motion of Debtor to: (I) Partially Excuse Receiver from Compliance with Turnover
                                                    Requirements; (II) Authorize Receiver’s Continued Retention of Professionals; and (III) Obtain Related Relief to
                                         28         (the “Receiver Motion”), [Docket No. 11], which Receiver Motion was granted by Order entered on March 19,
                                                    2019 [Docket No. 102].
                                         Case 6:19-bk-11920-SC        Doc 500 Filed 11/14/19 Entered 11/14/19 14:28:39                   Desc
                                                                       Main Document     Page 2 of 4


                                          1   and based upon the foregoing

                                          2           IT IS HEREBY FOUND AND DETERMINED THAT:
                                                      A       This Court has jurisdiction over the Motion under 28 U.S.C. §§ 157 and 1334, and
                                          3

                                          4   this matter is a core proceeding under 28 U.S.C. § 157(b)(2)(A). Venue of this case is proper under

                                          5   28 U.S.C. §§ 1408 and 1409.
                                          6           B.      The Debtor has demonstrated sufficient bases for the dismissal of the Chapter 11
                                          7
                                              Case pursuant to section 1112(b) of Title 11 of the United States Code (the “Bankruptcy Code”),
                                          8
                                              including the fact that the Debtor has no ongoing business operations and the remaining funds of
                                          9
                                              the estate are subject to the Prepetition Lender’s first-priority security interests and liens.
                                         10
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES, CALIFORNIA 90017-5704




                                         11           C.      Proper and adequate notice of the Motion was provided by the Debtor in accordance

                                              with the applicable Federal Rules of Bankruptcy Procedure and Local Rules and, accordingly, no
         DENTONS US LLP




                                         12
            (213) 623-9300




                                         13   other or further notice is necessary.
                                         14           D.      No objections were filed by any creditor or party-in-interest to the Motion.
                                         15
                                                      NOW, THEREFORE, IT IS HEREBY ORDERED THAT:
                                         16
                                                      1.      The Motion is granted as set forth herein.
                                         17
                                                      2.      Pursuant to § 1112(b), and effective as of the date the Court enters this Order, the
                                         18

                                         19   following Chapter 11 Case shall be dismissed:

                                         20                   a.      Air Force Village West, Inc. d/b/a Altavita Village Case, No. 6:19-bk-
                                                                      11920-SC
                                         21
                                                      3.      Upon payment of all administrative claims, subject to the terms of the DIP Financing
                                         22
                                              Order as amended, the Debtor and its professionals are hereby authorized to distribute the
                                         23
                                              remaining Cash Collateral to the Prepetition Lenders and the Guhl Fund, the Lewis Fund and the
                                         24
                                              Retained Funds to the Foundation.
                                         25
                                                      4.      None of the Debtor, the DIP Lenders, the Prepetition Lenders, the Receiver or the
                                         26
                                              Committee, and none of their respective present or former directors, officers, employees,
                                         27
                                              shareholders, partners, members, affiliated funds, attorneys, consultants, advisors, and agents (in
                                         28
                                         Case 6:19-bk-11920-SC       Doc 500 Filed 11/14/19 Entered 11/14/19 14:28:39                  Desc
                                                                      Main Document     Page 3 of 4


                                          1   each case, acting in such capacities) shall have or incur any liability to any person for any act taken
                                          2   or omitted to be taken in good faith in connection with or related to the Debtor’s Chapter 11 Case
                                          3   or the formation, preparation, dissemination, implementation, or consummation of the Motion or
                                          4   any contract, instrument, release, agreement, or document created or entered into, or any other act
                                          5   taken or omitted to be taken in good faith in connection with the Debtor’s Chapter 11 Case, the
                                          6   Motion, or this Order, except for any claim or cause of action arising from the fraud, gross
                                          7   negligence, or willful misconduct of such party.
                                          8          5.      Based upon cause shown by the Debtor, nothing in this Order or by virtue of the
                                          9   dismissal of the Chapter 11 Case shall result in the consequences set forth in section 349(b) of the
                                         10   Bankruptcy Code. Nothing herein shall preclude the Receiver from filing its final account and
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES, CALIFORNIA 90017-5704




                                         11   report and request for discharge and exoneration of security pursuant to California Rule of Court
         DENTONS US LLP




                                         12   3.1184 in the Receivership Case.
            (213) 623-9300




                                         13          6.      Nothing in this Order, or by virtue of the dismissal of the Chapter 11 Case, will
                                         14   vacate, nullify, or otherwise modify any order, judgment, or decree entered during the Chapter 11
                                         15   Case, including, without limitation, the Sale Order, the Rejection Order, the Receiver Order, the
                                         16   CMS Stipulation, and the DIP Financing Order, as amended.
                                         17          7.      The Debtor and its professionals are hereby authorized to take any or all actions
                                         18   necessary or appropriate to implement or effectuate the provisions of this Order.
                                         19          8.      The Debtor shall pay all outstanding United States Trustee fees within fourteen (14)
                                         20   business days of entry of this Order.
                                         21          9.      KCC shall provide the Court or its clerk, as appropriate, with the final versions of
                                         22   the Debtor’s claims registers reflecting all claims then asserted against the Debtor by no later than
                                         23   fourteen (14) business days after KCC receives notice of entry of this Order. As soon as practicable
                                         24   after KCC receives notice of the dismissal of the Chapter 11 Cases, KCC shall box and transport
                                         25   all original documents, in proper format, as provided by the Clerk of Court for the Bankruptcy
                                         26   Court of the Central District of California (the "Clerk"), to the Riverside Federal Records , located
                                         27   at 23123 Cajalco Road, Perris, CA 92570 or such other location requested by the Clerk's office.
                                         28   Upon KCC's completion of its duties under this paragraph, KCC shall be dismissed and discharged
                                         Case 6:19-bk-11920-SC       Doc 500 Filed 11/14/19 Entered 11/14/19 14:28:39                 Desc
                                                                      Main Document     Page 4 of 4


                                          1   as the Debtor’s claims and noticing agent. Subject to the terms of the DIP Financing Order and the
                                          2   Amended Budget, the fees and expenses currently owed to KCC, as well as those incurred by KCC
                                          3   until it is dismissed, will continue to be paid in the ordinary course of business without further
                                          4   application to or order of this Court.
                                          5           10.    To the maximum extent permitted by law, this Court retains its jurisdiction to
                                          6   interpret, enforce, or otherwise give effect to any and all orders, judgments, or decrees entered
                                          7   during the Chapter 11 Case.
                                          8           11.    Notwithstanding any applicability of any Bankruptcy Rules, the terms and
                                          9   conditions of the Order shall be immediately effective and enforceable upon its entry
                                         10           IT IS SO ORDERED.
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES, CALIFORNIA 90017-5704




                                         11
                                                                                             ##
         DENTONS US LLP




                                         12
            (213) 623-9300




                                         13

                                         14

                                         15

                                         16

                                         17

                                         18

                                         19
                                         20

                                         21

                                         22

                                         23

                                         24

                                         25

                                         26
                                              Date: November 14, 2019
                                         27

                                         28
